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      FULL NAME

      f',Oj Y~r~~~
      CO\dA(ITCED N~U7E (if dif}erent)
                                                                                              ~'r._ ■ t 2021
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      PRISON Ni1MBER (if applicable)

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                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

     ~1~~,a ~5'C~~C-~                                                   CASE NUMBER ~~,~1 _ ~`~` ~~~~ ~ O^.~_ ~\
                                                                                                              ~r                     u         U
                                                                                                    To be supplied by the Clerk

                                                           PLAINTIFF,
                                                                           CIVIL RIGHTS COMPLAINT
                                                                                          TO (Checko~ae)
~7T~~y ~~~2f;~"Y ~'s5`; lea                      ~ ~~ ~ ~'42 U.S.C. §PURSUANT  1983
~~~2~,q~`~ ~                                       DEFENDANT(S).
                                                                 ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971)

     A. PREVIOUS LAWSUITS

           1. Have you brought any other lawsuits in a federal court while a prisoner:           Yes     Q No

          2. If your answer to "1." is yes, how many? ~~~l

                 Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
                 attached piece of paper using the same outline.)




                                                            CIVIL RIGHTS COMPLAINT
                                                                                                                                  Page I oF6
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        a. Parties to this previous lawsuit:                                     ~7
           Plaintiff                         .~~           ~~`x        ~ f~~ -}~ !~


              Defendants       ~~~


        b. Court        ~~~


        c. Docket or case number           c~}~~
        d. Name ofjudge to whom case was assigned               ~      `
        e. Disposition(For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
              appealed? Is it still pending?) S~/~~
        £     Issues raised:   ~~/~~




        g. Approximate date of filing lawsuit:          ~~~~
        h. Approximate date of disposition            S~"M `'


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

    1. Is there a grievance procedure available at the institution where the events relating to your current complaint
       occurred? ❑Yes ~[No

   2. Have you filed a grievance concerning the facts relating to your cun•ent complaint? ❑Yes        ~No

        If your answer is no, explain why not /~_ /~s~-P.c~~"~ ~ /~7~' /`/~ti~~




    3. Is the grievance procedure completed? ❑Yes           I~No

        If your answer is no, explain why not     s~~~



   4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff       ~/~ ~rJ , ~Sc~~ ~°~391~O
                                                                           ~/~~prin,p~,
                                                                                      n ~fPs~~~

    who presently resides at ~~~~~ ~~~ ì~'~'              ["<"6~                          ~T       Uf ~C.1
                                                           (maiTmg a ress or place oY con mement)

    were violated by the actions of the defendants) named below, which actions were directed against plaintiff at
      ~~fk~~~- ~ Cam.j~~l~ , ~~~0%

                                                   CIVIL RIGHTS COMPLAINT
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    on (date or dates)        ~C 2-,/ ~ ~~~ ,
                         —            Tun I)                     ( aun [I)                      ( aun lll)

    NOTE:      You need not name more than one defendant or allege more than one claim. If you are naming more than
               five (5) defendants, make a copy of this page to provide the information for additional defendants.

    1. Defendant                            s~~~?G~~ ~~~~~/ti~                                        resides or works at
                    ~ruu name or tirs[ aetenaant)                                                                    --~

                    l7l~7 Ali 5~ ~3/~ ~Z~6d2, ~'7~ /1'~✓/~JlC~¢, ~¢-. Q0~05
                   (full address of first defendant)

                   ~`T-~~/~t1TPa ~~1~C~
                   (defendant's position and title, if any)


        The defendant is sued in his/her(Check one or both):          individual     official capacity.

        Explain how this defendant was acting under color of law`.

       ~fL~ri~~ ~~~c~D ~ ~~~~~ ~CCo9i~~F~~r-~~~-                                                                 ~         /tr77a~
         ~~/D~ ~5~3-̀T~ ~~~~~
   2. Defendant                                                                                       resides or works at
                    (full name of first defendant)
                             ~~~,~Gc/ri~
                   (full address of first defendant)

                   ~l~/~~-(~                                !iv J~ l L C 1
                   (defendant's position and title, if any)


        The defendant is sued in his/her(Check one or both):          individual     official capacity.

        Explain how this defendant was acting under color of law:
          ~~~y~~~~~ ~ ~+~~ti~~ ~~.~y %~ ~~~ ~~~
    3. Defendant         ~,~ /~! ~ ~'/~-~~/~"~~                                                           resides or works at
                   (tulles first de endant)


                   (full address of first defendant)
                                                       fvl,2 ~J/~                ~Q ~'1~.~ ~l~S
                               s position


        The defendant is sued in his/her(Check one or both): ❑individual             official capacity.

        Explain how this defendant was acting under color of law:




                                                        CIVIL RIGHTS COMPLAINT
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  4. Defendant            f"~~                                                                     resides or works at


                  (full address of first defendant)


                  (deYen ant's posrt~on an tRle, iY any)


       The defendant is sued in his/her(Check one or both): ❑individual          ❑official capacity.

       Explain how this defendant was acting under color of law:




   5. Defendant       ~'V                                                                          resides or works at
                   (full name of first defendant)


                  (full address of Yust defendant)


                   (de endant's position and tit e, i any)


        The defendant is sued in his/her (Check one or both): ❑individual        ❑official capacity.

        Explain how this defendant was acting under color of law:




                                                        CIVIL R[GHTS COMPLAINT
                                                                                                                    Page 4 of6
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D. CLAIMS*
                                                       CLAIM I
   The following civil right has been violated:




   Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
   citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
   DEFENDANT (by name) did to violate your right.


                                                         •~/lam,




    *Ifthere is more t/aan one claim, describe t/~e additional claims) on anot/per attacl~edpiece ofpapei• using the same
    outline.


                                                  CIVIL RIGHTS CON[PLAINT
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       Case 2:21-cv-07926-ODW-PD Document 1 Filed 10/01/21 Page 85 of 116 Page ID #:85


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                                    UNITED STATES COURT OS APPAL$
                                                                            ~A~1iYJ1. CA11'fR8M1~ ~FR~
                                         F4R 'I'Fi8 NiNTFi CIRCUIT            tli.QOiiRT ~~PP~fAiB


              DAVIA 'WAYNB SCONCE                            No. 96-55209

                            Plaintiff-Appellant,             D.C. NO. CV-96-00863-J'GD

                      v.

              GIL GARCSTTI~ District Attorney=
              HAFi~"SY GISS, District Attorney

                            Defeadant6-Appellees.


              DAVID WAYNR SCQNCB                              No. 96-56095

                             Petitioner-Appellant,            D.C. No. CV-94-82D1-JC3D

                      ~
                      :

                  SAM LEWIs, Director, Arizona
                  Department of CorrectioIIs;                 bR7~SR
                  A'1TORN~Y GBNBRAL DF THE STATE
                  QP CALIFORNIA

                             Raspondente-Appellants.



                  Before: ~INHAIt~T~ HALL, and LEAVY, Circuit Jtitdgss.

                       Plaintiff's motion to consolidate appeE►le is [3ItArrT~D.




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                             UNITED STAZ'fiS COURT OF AF]2EAI~S
                                                                     G1111/ A, ttAll'ER80M~ ClFAif
                                  FOR TN8 NINTH CIRCIIIT               ~~~ ~~a



        DAVID WAYNE SCONCES                      )       No. 96-55209

                      Plaintiff-AppellanC,       )       D_c. No_ CV-96-00863-J~D

              ~t .

        GIL G7aRCB"~'TI, District Attorney;
        H~RVSY GIBS, District Attorney
                     I~fendants-Appel7.eee .     ?


        pAVID WAYNS ScoNCE                       }       No. 96-56095 *

                      Petitioner -Appellant,     )       b.C. No. CV-94-8201-JGD

               y,                                    }   ffi gISOR]►~TTn Uyt'~''

        EAr~ LEWIS, Director, Arizona.               )
        Department of Corrections;                   )
        ATTORIJBY Cyb'NgRAL OF TIiB STATE            }
        OF CALIFORNIA
                      Respondents -Appellants.       )
                                                     }

                       Appeal from the Unitefl Sc:ates District Court
                           f or the Central District of California
                         John G. Davies, District Judge, Presieing

                            Argued and Submitted August 8, 1996
                                   Pasadena, California

         Befoz'e:      REINHARDT, HALL, and L$AVY, Circuit JuQgee.
                                                                             ~'~.




         ~' In an order Eiled along with this disposition, pe grant the
         motion to consolifla~e the appeal pending in Cage ]Qo. 96-56095 with
         the appeal in Case No. 96-55209.
         ~''' This disposition is not appropriate for publication and may
         not be cited to or by the courts of this circuit except ~6
         provided by Ninth Circuit Rule 36-3.




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                                                     an Arizona etate priganer mho
                    Petitioner, David Wayne Sconce,
                                               fornia awaiting trial, sgpeal~ the
               is currently in custody in Cali
                                              writ of habeas Corpus and hie
               denial of his petitions for a
                                              nction. Sconce alleges these the
               requesC for a greliminaxy inju
                                                                               t to
                                            ated his fourteenth amendment righ
               state of California hae viol
                                                                        ement he
                                        illing the terms of a plea agre
               flue process by noz fulf
                                                uant to which he sexved an agre.ed-
               made with trie trial court, pur6
                                                 the fact that the trial court
               upon sentence. NOLwith~tan~ing
                                                    agreemeak, ~e concluBe that
               lacked authority to make Che plea
                                                  cornstitutional rights by the
               6conce has been deprived of his
                                           comply with the terms og the plea
               state's belated reeusal to
                                                                                  to
                                             sewed his sentence, he is entitled
                agreement, and that, having
                                                   ement. Accordingly, we reverse
                specific enforcement oS chat agre
                                                 a writ.
                end remand for the issuance of


                                                   BACICGROLlliD
                                                                              in the
                                                 ae plefl guilty to al counte
                        Qn Aug~at 3D, 1989, Scan
                                                    involved charges of mishandling of
                   LamU Plineral Horne case, wr►i~n
                                                      plea pursuant to an agreement
                   human rerrtains. He entered the
                                                          ri ,judge Terry Smerlii~g.
                   ofYere~ by Califoraia Superior ~ou
                                                        ii 3conee plefl guilty to the 21
                   According to the plea agreement,
                                                           r sentence; and, should thQ
                    counts, he would receive a five-yea
                                                                                         ge
                                                  the conspiracy to conaait murder ch~x~
                    state obtain a reversal of
                                                                                        ty
                                                         ier, he could then pled guil
                    ,Tudge Smerling had dismissed earl
                                                             ation, and be required to
                     to that charge as well, receive prob
                                                                                       the
                                                       . Zt Was further agreed that
                     6erva no aflflitional prison time
                                                                                         ts
                                                     number oL other funeral home coun
                     arrangement mould apply to a


                                                        - 7.-



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                            .
        on appeal at that time / Pursuant to the plea agreement, Sconce
                                                        prison.
        was sentenced ~o five yeaxs ~n California state
                                                                plea
              During the proceedings, the state objected to the
                                                             enough.        At no
        bargain.    It argued that the sentence was not long
                                                         diction of the
        time, however, did the state object to the juris
                                                 counts on appeal, or
        judge to make the plea bargaan as to the
                                                agreement itself as
        Criallenge any part of the plea bargain
                                                          plea a.greem~nt
        invalid. Moreavear. tha state never appealed the

                                                 makes clear Che tencu~ df
        1/ The following portion of Lhe colloquy
        ~h~ oEfe~.

             The Court:    My offer to you, Mr. Sconce, is that in the
                                                                     you
                                                           convicted on
               event any co~u,ts in this case you're later
               receive no more time than  the five years Y j~ugt senteneefl you
               to initially.                                     r co nt t at Y
                     ~`h~,t oes inc?tie the conspirac~r~to murde
                                                            law is  set Up,
               ~iisrnissed. After that count, the why the                  life
                                                              g you 25 to
               giving this a. rather drat~tic option to givin
               or probation.                                              sive
                    It's my view that 25 to life is an extremely exces  I'd  be
                                                          that  count _
               sentence for the behavior that underlies
               compelled by con.gCienCe to give you  probation.
                                                                   more
                    Actually the sentencing in between would be
               appropriate but that' s  not the law.



                The Court:      Mr. Sconce, do you understand the teirna of the
                offer I'rn making to you?

                [Sconce :        Yea, Sir.

                The Court:      All right. Sy the way, I'll be explicit about
                thip.                                                you
                     Aa to counts you're not pleading to today, if        they
                                                     plena eo them after
                subsequently plead to them--if you                   them  in
                                            appea l--if you plead to
                are reinstated an People's                            d five
                                        you no addit ional time beyon
                that time, I will give
                years I'm going to sentence yvu to.
                      That's only if you plead to them.
                      Do you understand that sir?

                 [Sconce]        Yes ~ Sir.

            (h'~phasi8 added).

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                                                                e_ 2~      Inste~~, ~t
              and never sought a writ of prottib~tion or mandat
                                                                 the agreement_
              proceeded to incarcerate Sconce in accordance with
                                                          prison sentence flid
              Only niter Sconce nad completed 6ervi»g his

              the stag move to vacate the plea bargain.
                                                                       sel of the
                  'i'4~e California Court of Appeal reversed the diemis
                                                               ruled that because
              conspiracy count ,~n Maich 18, 1991. The court
                                                             ed after he had
              Seonee•s withdrawal from the conspiracy occuzr
                                                              absolve him of
              co~nitted an overt act, the withdrawal did not

               liability.     on June 5, 1991, the California Supreme Court denf~d
                                                           the conspiracy count
               review of the ruling, and on June 2a, 199i,
                                                                       the state
                vas remanded to the Superior Court. On August 8, 1991,

               filed a motiaa to recuse JLiflge Smerling.      The taotion was gY~ancea.

                                                                 rele~B~d frort~ state
                       On October 1, 1997, after Sconce had been
                                                             ted that the plea
               prison in the normal course, Che state reques
                                                               time that the judge
               bargain be set aside, contending for the first
                                                               n with respect t~
               h~.~ larked jurisdiction to offer a plea bargai
                                                                   tht time the
               tb~ conspiracy charge because it was on app@ul at

                   plea bargain wan offered and accepte8.    Sconce brought a metion to

                   enforce the Qlea bargain.
                                                                                .
                        ~n December ~4, 1991, Supezior Caurt Juage Paul Bola~n~

                   invalidated the plea agreement.    The case t~&d been aesignefl to hits

                   following Judge Smexl~ng~s recusal.     ~7udge Boland found that
                                                                             with
                   ^Judge Smerling was without authority to take any aceion"
                                                                      'any of Judge
                   respect to the canepiraey charge and, as a result,

                                                                             attetngted to
                   2~ Hhen asked at oral argument whether the state had   the  plea
                   prevent Sconce from  being incarcerated  pursua nt to
                                                                            the tr3:a1
                   agreement or appealefl to the Court of Appal because
                                                                              counsel for
                   court had exceeded its authority in eaL~ring into it,.
                       state respon ded, "Ne, your xonor,  that didn•t   happen ."
                   the

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              Sm2rling•s actioTs, irc~uding contingent offers, made during the
              pes►flency of thz appeal are nor subject to en.~oxeement."   Judge

              Boland concluded, moreover, l.ha~ even if Judge Smerling had

              jurisdicCion to make Che contingeri.t offer, the plea agreement was

              invalid because the charge was nor an appropriate one for plea

              bargaining ua~s~er Calf.foxnia Penal Code § 1192.7.
                   On January 9, 1992, Sconce chal~engeQ the constitutionality

              of the re~ciaaipn of the plea agreement.    The Califoxni.a Court of

              Aggeal denied Sconce'$ petition Por a writ of mandate.       It ruled

              that his rern~fly, if he so chose, vas to "withdraw fsam the plea
              bargain in its entirety ttr~ to enter a new plea."      On January 27,

               x.492, Sconce sought review in the California Supreme Court.     She

              Court denied review on Nfarch 11, 1992, with oae justice voting to

              neap the case.   Sconce ~ilsd a petitioa~ for wsiL of eertiarari ire

               the United States Supreme Court on June 3, 1992, which Waa fleaied

               ~n Oetvber 5, X992.

                    On February 8, 1994, the state filed a motion to consolidate
               a remaining funeral home count with the Conspiracy charge,      The

               motion was granted. 'The state subsequently sought Sconce's

               trar,$Eer prom Arizona, Where he wag serving a five-year sentence
               on unrelatefl charges.   On approximately October 4, 1995, Sconce

               was transferred to the custody of Lhe sheriff of Los Angeles

               County pending trial.

                    On February 7, 1996, Sconce Eiled a civil rights complaint

               seeking an orfler restraining the stmte from prosecuting him an the
               conspiracy charge.    Qn February 14, 1996, Judge John Davies ruled

               on the merits by ^construing this civil sights case as a habeas


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                                                                                   New
             cozpus petition.'° 3~      Judge Davies flistinguiBhed Sa~to~ello v_.
                                                       d that "it cantetaplate[d)
             irk, 404 U.S. 257 (1471), on tkie groun
                                                        the proaeautor only." In
             plea bargains between the defendant and
                                                 the plea was based on "unlawful
             adflitlon, .lodge Davies Lound that
                                                        Judge Davies concluded
             ane tiherefore unfulfillable promises.R
                                                      on to enter info a plea
             that Ghe trial craurL Zack.Ed jurisdicti
                                                       e because the matter Was on
             bargain concerning the conspiracy charg
                                                    lacked authority to ePiter
             appeal a~. the time, and that it also
                                                         Penal Code ~ 1192.7
              into the plea bargain because California
                                                  a charge.
              precluded bargaining regarding such


                                                                          s petltians alleging
              3~ 6conce had initially filed g~ ~ habeasiy ag a result of the
              viol~tia~sB of    due  proce  ss   and  doubl   e  jeopar
                                                                       the magistrate to whom
              rese36sion of the plea bargain. Because                     rule on them, and the
                                                                    nor
              the habeaa petitians were xeferred did red imminent, Sconce Piled
                                       con8p iracy    cane    appea
              state trial in the                                    minary injunction. Judge
              the ~ 1983 complaint and sought a preli              atea   hig state remedies for
              Davies    concl uded  that   Sconc  e  had  exhau
                                          ss  viola  tion    anQ   treat  ed the request foe
              the a11~geQ due proce                          n        habea  s corpus relief.
              injun~Cive relief as art appZi         cati~      for
                             does  not   conte  st  Judge    Davie   s'  concl   usion that Sconce
              (The staCe
              e~chausted hi9 state remed       ies.?
                     "In canes where a prisoner~e s~ctioa 1983                   co~laint eviwCed a
                                   to  state    a  Habea s   claim   ,  we  haves said that the
               clear intention                                           as a habeas petition."
               district court should treat the complaint
               Tj-~ ri~P v_  C ~~  of   Banta   Rosa,   X49  F.3A    583,   586 (9th Cir. 1995}.
                                            eampl  aint   evide   nces   a  clear intent to state
               Here, Sconce's § 1983                                            d not tie cried on
               a habeas clam, Scone contends                chat    he  shoul
                                  charg  e  becau  se  it   vrould    viola  te  his due proceae
               the conspiracy                                       on  1983    ccnnp laint, he raised
               rights. As Sconce state         d  in  his   sect~.
                                                                 s  petit  ions    now  pending."
               this same claim "in hi8 habeas corpu                             ed  his  civil rights
               Accordingly, the      flistr ict   court   prope    rly  treat
                complaint as a habeas petit         ion.
                                                                                        ously ignored
                      ~s► July 12, 1996, Judge Davies denied tY►e previ case. On
                                             g   just   as  he   did   iu  the    § 1983
                habeas getitions, rilin
                                                                         te the apgeal from the
                August 2, 1996, Sconce moved to consolida               Che  appeal involving the §
                order flen  ying hie   habea  s  patit ions     with
                                                state   did   not    objec   t.   We have granted the
                1983 complaint, and the
                motion.




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             ~n February 20, 19y6, in d proceeding relating Co the

       conspiracy charge, Sconce's counsel, relying on thA glee bargain,

       of~erec4 a conditional glee in stets court..    Counsel stated, " i~'I or

        the record, [Mr. Sconce] does again ogfer to pleatd to the murfler

        Conspiracy case, and i£ the r_ourt rill accept it and agree Co give

       ~robati~n to 1`+Ir. 6con~~, he w~l~ make that o~f~r."    The trial

        court rejected the offer, stating ^I have seen Judge Smerlirlg's

        scare.   I am not willing to get into that same bax."



                                      DI3CU3SxON

             The basic question We must answer in this case ig o~hether a

        defendant who ig inQuced to plead guilty on the basis of a promise

        made by the trial court judge and gh~ ~ ~.~~d h1~ sentence ~g

        a~cordanGe ~~i ~, plea agreement is entitled under the Due

        Process Clause to specific perLorn~ance of th&t agreement,

        notwithataneing the feet that the judge was vnithout authoriCy to

        enter inter it.   In the case before us, the state sought to

        invalidate the plea bargain only after the defendant had sez~red

        the agreed-upon sentence.     wP hold that under Chess unique

        circumstances a defendant is entitled to Bpecilic en~arcement of

        the plea agreement.

              xn Santob~llo v. Neer York, 404 U.S. 257 (1971), tAe Supreme

        Court concluded that a defendant here a constitutiional right to

        relief when the state breaches a plea agreement, even when the

        breach is inadvertent.     ~(W~hen a plea rests i.n any significant

        degree on a promise ar agreement of the prosecutor, eo that it can ..

        be said to be part of the inducement or cmisideration, such



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              ~ro!nise musC be fulfilled."    dI , at 262.    The Court held that a

              defendant is entitled either to withdrawal of a guilty pled or

              specific performance of Ghe p)ea bargain, but remanded to the

              state court for a determination as to which form of relief was

              required under the circumstances of the case. ~ at 263.
                   Here, we conclude that Sconce is entitled to specific

              enfvsCement of the plea bargain.     There can be no question that

              the promi.ee by the state court that he would be ailvwefl to plBad

              guilty to the conspiracy charge and receive probation w~$ parc of

              the induc~me~zt or consideration for 5conea's plea pf guilty.'~~

              Sconce waiv0d, or bargained away, many of the rights we as a

               people deem fundamesrtal when he pled guilty.~~        Having done o0 on

               flee basis of the tr3a1 court's promise, to sequise Sconce to plead

               pulley without the benefit of the plea bargain or to undergo a

               trial on the conspiracy oharge in violation of the plea bargain
               would violate his right to due process. ~ ~aritab~lla, 4fl~ U.S.

               at 268 ("When a prosecutor breaks the bargain, he ut~flercuts the


               4P zn con6truing a plea agreement, this court lookB to "what the
               defendant reasonably understoo8 to be the terms o~ the agreement
               when he pledged guilty." J7nite~ States v. De La Fu_entg, 8 F.3d
               1333, 1337 {9th Cir. 1993). Here, the state trial court judge
               could not have the tnafle the teens og the plea agreement any
               clearer, $g@ suers n. 1. There is no issue as to what Sconce
               reasonably understood the toens of L'he plea agreem~t to be mhea
               ne pled guilty.
               5f n(1i] guilty plea is s serious and sobering ocaaeion inasmuch
               as it constitutes a waiver of the fundamental rights to a juzy
               trial, puncan v. LouiBiaII2i, 391 U.S, 145, Co Confront one'g
               accusers, painter v_ Te~c~►B, 380 U.S. 400, to present pitnes8es in
               ane•s flefenae, Washin ton v. Texas, 388 U.S. ~~, to remain silent,
               Halloo v. Hogan, 378 U.S. 1, and to be convicted by proof beyoiifl t~
               reasonable doubt, Zn re winshio, 397 U.S. 358." 3dntobe7.      404
               U.S. at  264 (Douglas, J. , concurring ? .



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              basis of the waiver of consti~v~ional rights implicit in the plea)

              (Marshall, J., concurring): ca      eale v. ~n~ted states, 4~9 F.Zd

              944, 947 (1st Cir. 1973) ("Though a legitimatie prosecution promise

              does noz render a guilty plea legally invpluntary, its fulfillment

              ig a necessary predicate to a conclusion of voluntariness when a

              plea `rests in any significant degree' on it.^) (quoting

              Sant~bello, 444 U.S. at 2623.      pue respect for the rights Seorice

              has waived, as well as the integrity of ilea bargain, requires

              that the prwniae thae influcefl the plea be fulfilled, particularly

              because Sconce has already iultilled his part of the bargaSs~.. ~

              B~~Gh~ny v. Johnson, 633 F.2d 473, a76 (6th Cir. 1980) t•Simply

              etate~d, the law does not permit a criminal defendant to bargain

              away his constitutional sighL•s Without receiv~g in return         - .
              the benefit of his bargain           .•!; united Stotea s._H~liam, 472

              F.2d 168, 159 (9th Cir. 1973) ("It is clear from Santobello v. New

              York that dui respect for the integrity of plea bargains demands

              that Dace a defendan~ nab carried out his part of the bargain the

              aoverns+nent must fulfill its part.~~).   As the Supreme Court bas

              reiterates3, ~'[w)hen a plea rests in any significant degree on a

              promise or agreement          so that it can be said to be part of

              the influcemsnt nr considaraLion, such prnmi.se must be tulLilled.'"

                        v. Johnson, 467 U.S. 504, 509 (1984) (quoting &antobello,

              404 U.S. at 262}.

                    Three arguments, however, can be made for why xe Should not

               apply the principles established in ~antobel.~.o in such a

               straightforwardmazer:       1) she state should not be bound by the

               plea agreement because the tria3 fudge, rather than the


                                                 ..g_


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              prosecutor, made the pramise that induced the guilty plea; 2) the
              state should not be bound because the trial judge lacked the
              authority to enter into the plea agreements and 3? a remand to the

              state court to select the appropriate remedy is the proper
              procedure to follow on state habeas review.    We address these
              Contentions in turn.
                   That the promise chat induced the plea came from the judge,

              and not the prosecutor, is not a valid basis fox' distinguishing

               _i~bello
              ~a  to    anfl the lice o~ eases following it.    2n fact, the same
              result 3~s required, ~ fortiori.    The interests that dictate strict
              compliance by the state ~+ith the terms of a plea agreement -~

              interests such as fundamental fairness, public confidence in the
              integrity of the juflicial eysLem, and the honor o~ government

              officials6~ -- are implicated cven more strongly rhea it is the

              juflge who makes the proa~.i~e than when it is the prosecutor.   It is
              the judiciary, after a11, which is at the core of our 8y8tem of
              justice and which ie ultimately responsible for the fair

              adminisCration of justice_    If anything, then. a defendant has

              more reason to rely on the promise of the court t~lan ors tie

              promise of a prosecueor.~~


              6~ ,~,~, Palermo v. Warden. Green Haven Rr~r.a p,-inn, S45 E~.2fl Z66,
              296 (Zd Cir_ 1976), cert, di~tmigsefl, 431 U.S. 911 (1977)
              ("Eg)undamental fairness and public confidence in government
              officials require that prosecutors be held to •meticulous
              standards of both promise and performance.'^) (citatioa anitted)r
              United States v. Carer, 454 F.2d 426, a28 (4th Cir_ 1972), cart.
              de~i.e+d, 417 U_S. 933 (1974) ("A[ stake is the honor of the
              government[,] public coafidence in the fair administration of
              justice, and the efficient atimin~atration of justice in the
              Pederal scheme of governmeat.~~) ,

              7~ In Smarter v. cCar~hv, 806 F.2d 13?3 (9th Cir, 1986), Gex't•
              denied ~y McCarthy v. Carter r 484 U.S. 870 (1987), a 6tate


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                   That the trial court lacked the autAozity to make the promise

              regarding the Conspiracy charge -- that the promise was invalid --
              doe~ not alter our conclvsion.eJ     What ie critical here is the
              fact that 6conce reasonably relied on she pranuee to hfs

              detriment, not that the promise was unauthorized.        "The reason is
              obvious; i~ i~ ~,fle defendant's righes wi~ica are being violated

              when the plea agreement is        _ meaningl~sa."    Correale, 479 P.2d
              at 949.    secause the promise was part of the inducement or

              consideration for the plea, it must be fulfilled, notwiths~andiag

              the fact that it was in ~xceas of the trial court's authority_

              $ee palern~o v_ Ward.    seen Have~a State Prie n, 545 F_2d 286, Z96

             (2d Ciz'. 1976). Ce     diBml6sed~ 431 V.S. 921      19771 (hOldf7tg thSt

             prieor~er soughC habeas relief, cantendin~ that his plea was not
             voluntazy and kr~vwiug because fig, r a~ ~~ had Failed. to inform
             him og a man~aCvey parole term. We found that under the
             circumstances, acceptance of the plea urns a constitutional
             violation. darter, B06 F.2d at 1376. For reasor~a we explain more
             tu12y below, we vrderad specific performance of the plea agreement
             -- that i~, we ordered Carter`s re2eaae "from any further Service
             under the parole texzn." ~ at 1377,        as Uni,ted_SCates ex,~~.
             Fer~~g v, F~,nkbeine~"', 5S1 F.2d 165, 186-8Z (7th Cir. 19771, cent.
             ~   ~, 435 U.S. 93~ (1978) (holding that fundamental fa3rnese
             required limiting sentence to the agreed-upon term where eY e trial
             ~udge mistakenly informed st~aLe prisoner that there ~sould be no
             mandatory parole term).

              B~ We agree with the s~a►te that Judge Smerling lacked
              jurisdiction over the conspiracy charge at the time of the plea
              bargain because that charge was then on appeal, We agree also
              that ~uflge Smerling lacked the authority under California law to
              plea bargain regarding the conspiracy to coa~uit muxder charge
              because the crime is a felony punishable with impriso~nent for
              life, ~ Cal. Pen. Code 5 119Z.7(a) & (c)t7) (prohibiting glen
              bargaining in felonies punishable with life imprisonment), or to
              enter into a plea agreement over the state's objection, RPP c ~
              v. Dxin, 13 C.3d 937, 533 P.2d 193 (Cal. 1975)    Hc.~rever~ as ore
              exp~.ain more Eully below, given these graunda foz challenging the
              validity of the plea agreement, which were unquestionably obvious
              to the state at the time the plea was entered, we do not
              understand how the state could justify having r~aited to challenge
              the agreement until after Sconce had served his sentence.


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               ^ where a defendant pleads guilty becau
                                                       se he reasonably relies on
               grorai~es by the proaecutore which are in fact unful
                                                                    fillable, (in
               this case because they were ~~ y~,
                                                  J he has a r~gt~t to have
               these promises fulfilled")T United Statesx
                                                          rel. Perris v.
               'i~
               ~     iner, 552 F.2d 185, 186-87 (7th Cir. 1977), cent• denig
                                                                             d,
               435 U_S. 93z (1978) (holdfng that fundamental
                                                             fairr~es~ required
               limitistg sentence to the agreed -upon term
                                                           even thougIz it resulted
               in an illegal sentence under state laa); ~g~zeale,
                                                                  479 F.2d at
               947-50 (concluding that the only just remedy was
                                                                enforcement of
               promise by prpE~CutOz even thaugh it resulted
                                                             in an illegal
               sentence). The integrity of glee bargaining and
                                                                the
              adiniaiatraeioA of justice would certainly be damag
                                                                    ed if a
              defendant, standing before a ~vdge in an o~iicial
                                                                    procee8ing,
              could not r~a~onably rely osa what the judge
                                                            says or does, for fear
              that t7sa fudge might be acting without jurisrdieCi.
                                                                   on or in excess
              of legal authority.

                      We are not suggesting that when a duly-appo
                                                                  inted judicial
              officer, acting in his judicial capacity, excee
                                                              ds hiB authority
              and others an invalid p1.ea agreemer3t the
                                                    r    state is ~oithwt a
              remedy simply because the defendant accepted the
                                                                 agreement. The             'i
              state certainly has various remeflies at its dispo
                                                                 sal: it away file          ',
              a motion for reconsideration and poine out to
                                                             the trial judge the            ~
              errors he has mass; it may seek a writ of
                                                         prohibition or a writ of
              mandate from the Court of Appeal; it may appea
                                                             l directly if direct
              appeal is authorized under state law; or
                                                        it may otherwise seek to
              invaliflaee the plea agreement.       Here, however, the slate Failed to
              avail itself of any of these remedies,
                                                     starting with its failure



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              at the time of the plea hearing to object to the ilea agreement on

              tha ground of lack o! authority nr jurisdiction,         the state's
              failure to raise any legal objection at that hearing, to request

              reconsideration, or to lirmiediaCely appeal or seek a writ of

              mandate or prohibition xs inexcusable.      The grounds for
              invalidating the plea were available to the state from the time

              the plea wag taken, but it chose not to act.      Instead, the state
              allowed Sconce to rely on the agreement to his substantial

              detriment.       It comrieted and incarcerated him puxsuant to the plea

              agreement, an8 aflrninieterafl hie sentence pursuant to it.     onzy
              after the atace had received the full benefit oP the agreement did

              it seek to repufliate it and to prosecute Sconce on the conspiracy

              charge.    The state's failure to challenge the plea before Sconce

              dad Pulfillefl his part of the bargain is a detezm.inative factor ~n

              our analysis.

                   Finally, although courts on habeas review ogten remand to a

              state court for a determination of the appropriate relief, P•PrrP

              v. Triomeeon, 666 F,~d 42~, a2~ (1962), Santob_e~~o "Qid nOt hold

              that remand Has appropziate in evezy case, or as a general

              course," GarCer v. McCarthy, 806 F.2fl 1373, 1377 (9th Cir. 1986?,

              pert ~
                   ~P ~y MCCartl~v v. Carter, 4B4 U.S. 870 (1987).             Fe8eral
              courts remand to the state court to let it Qecide tha appropriate

              remedy when withdraaal of the plea and specific performance of the

              agreement are both viable Yorms of relief.       However, When BpecifiC
              performance is the only appropriate remedy, beca.uge the defendant
              has served all or a significant portion of hie aentenee, federal

              courts order that the broken plea agreement be enforesd. ,egg



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        Carcer, 806 F.2d at 13a7; Fix ice, 55l F.2fl at 186; Qa1e~n+o, 545

        F.2d at 297.9/

               rn ~,
                  ~`A for example, where the de~endan.t had already
        served a sentence in excess of the one he had bargaine6 for and

        Ieave to withdraw his plea would have baen of no benefit to him,

        eve ordered specific perfornnance of the brokea plea agreement
       because "[W~ e s[aw) no reason to remanfl a habeas case where there
       i~ ao choice to be made and buz one possible order to be issued.^

                 X06 F.2d at 1377_   Similarly, in ~,the Seventh
       Circuit ordered specific performance where a state defendant had

       "subgtanti~lly begun parfozming his Bide o~ the bargain,^
                                                                     SS1 F.2d
       at, 186, and i.n pa ermo, the Second Circuie affi.zrned the
                                                                   district
       ceurt•s grant of specific performance where withdrawal
                                                                  of the plea
       ^would indeed have been meaningles6" ~o a state
                                                          defendauat who'
       would already have been released it the plea agree
                                                          ment had been
       fulfilled, 545 F.2d at 297.

             Here, as in Car g~~ we see no reason to reman
                                                           d.      Like the
       defendants in Carter, Ferris, and Q lermo, Sconc
                                                        e has been
       prej~8lced by the state's failure to abide
                                                   by the terms og the
       plea agre~e~n~ because fie has already served his
                                                         sentence pursttan.t
       to the agreement. Leave L•o withflraw tae plea
                                                      aauld therefore be
       of no benefit to him. As there is but one
                                                   appropriate rely to
       be ordered hire, we d~ not xemand to r_he Bt~te
                                                       Court to make an

       9✓ ~ ,~,~,~ &erch~nv, 633 F.2c] at 476-77 (ordering
                                                               speci.~ic
       perfortnance where failure Co conduct psychiatric
       resulted in state's failure to fulfill its           evalu ation
                                                     part
       I3~xr ~ ~,, Su~erintandens,~ v~ Stage Penitenti.ar  of the  bargain);
       ii74 (4th Cir. 19751 (enPorcir►g plea agreement    v, 518 F.2d  1 73,
       pled guilty and begun serving his sentence).      where  deten dant haft



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              illusory choiCe.l~~   Instead, in line with our precedent, wa order

              Chat a writ issue 6irecting the state to comply with the Dlea

              agreement or dismiss the conspiracy criarge.   In short, we conclude

              that, having accepted all the benefits of the bargain, the state

              must comply with the plea agreement if it wishes to pursue that

              charge.



                                          CONCLII3IdN

                   Por the reasons stated, Ne RSVER6E the district court's

              denial of Stance's petitivn6 for habeas relief and R$MANfl to tha

              aietrict court for issuance of a writ enforcing the plea

               agreement.
               r
                                                        REYERSF ar~d REMAND
                                                        for i6suance of a verit in
                                                        accordance with this
                                                        disposition.




               1D/ ~e state has already offered Sconce the option a1
               withdrawing his plea, overlooking the violation ghat would result
               from depriving him of the benefit for which he bargained when he
               agreed to waive his constitutional rights, plead guilty, and serve
               tha agreed-upon pz~ison term.



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